 Case 4:06-cr-40019-JPG           Document 812 Filed 01/22/09               Page 1 of 2       Page ID
                                            #2268



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                 Plaintiff,

         v.                                                 Case No. 06-CR-40019-JPG

 RICHARD D. WROLEN,

                 Defendant.

                                  MEMORANDUM AND ORDER

        This matter comes before the Court on defendant Richard Wrolen’s pro se motion for

transcripts (Doc. 810). Defendants have no constitutional right to a complimentary copy of any

document in their court files. See United States v. Groce, 838 F. Supp. 411, 413, 414 (E.D. Wis.

1993). Before providing copies free of charge, a district court may require the requestor to

show: (1) that he has exhausted all other means of access to his files (i.e., through his trial and

appellate counsel), (2) that he is financially unable to secure access to his court files (i.e.,

through a showing similar to that required in 28 U.S.C. § 1915(a)(2) which includes a certified

copy of the prisoner’s trust account for the previous six-month period prior to filing), and (3) that

the documents requested are necessary for the preparation of some specific non-frivolous court

action. See United States v. Wilkinson, 618 F.2d 1215, 1218-19 (7th Cir. 1980); Rush v. United

States, 559 F.2d 455, 459 (7th Cir. 1977); Groce, 838 F. Supp. at 413-14. These minimal

requirements do not impose any substantial burden to financially unable prisoners who desire

their records be sent to them at government expense.

        Wrolen contends that he is indigent and needs the transcripts of his sentencing in order to

complete his § 2255, case number 09-51-JPG. However, Wrolen previously submitted a letter from

his counsel at sentencing and on appeal, Steven V. Stenger (Doc. 764). In it, Stenger states:
 Case 4:06-cr-40019-JPG          Document 812 Filed 01/22/09             Page 2 of 2     Page ID
                                           #2269



“With respect to your request for transcripts, I provided such transcripts to you on May 19, 2008.

The transcripts enclosed included your change of plea and sentencing proceedings. Such

proceedings are the only relevant transcripts in your case. I have provided you all of the

documents and transcripts in my possession.” Because Wrolen has received a copy of the

requested transcripts from his former counsel, the Court is under no obligation to provide him a

second copy. Accordingly, Wrolen’s motion (Doc. 810) is DENIED.

IT IS SO ORDERED.
DATED: January 22, 2009.

                                                     s/ J. Phil Gilbert
                                                     J. PHIL GILBERT
                                                     DISTRICT JUDGE
